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    7   YELP INC. AND JEREMY STOPPELMAN
    8
                           UNITED STATES DISTRICT COURT FOR
    9                     THE SOUTHERN DISTRICT OF CALIFORNIA
   10
   11
         AYNUR BAGHIRZADE, an                   CASE NO. 24CV1077 RSH MMP
   12    individual,
                                                YELP INC. AND JEREMY
   13              Plaintiff,                   STOPPELMAN’S REPLY IN SUPPORT
                                                OF MOTION FOR DISMISSAL OF
   14         v.                                SECOND AMENDED COMPLAINT
                                                PURSUANT TO F.R.C.P. RULE
   15    ARMENIAN NATIONAL                      12(b)(6)
         COMMITTEE OF AMERICA, et al.
   16
                   Defendants.                  Date: 01/06/25
   17                                           Place: 3B-3rd Floor (Rm#: 3142)
                                                Judge: Hon. Robert S. Huie
   18
   19                                           PER CHAMBERS RULES, NO ORAL
                                                ARGUMENT UNLESS SEPARATELY
   20                                           ORDERED BY THE COURT
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            YELP INC. AND JEREMY STOPPELMAN’S REPLY IN SUPPORT OF MTD SAC
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    1      I.      INTRODUCTION
    2           Plaintiff’s third attempt to cast Yelp and Jeremy Stoppelman’s (the “Yelp
    3   Defendants”) alleged actions as wire fraud or as part of some larger conspiracy,
    4   bereft of any factual support, does not defeat the immunity provided by Section 230.
    5   In her opposition, Plaintiff admits that her claims are based entirely on third-party
    6   reviews or Yelp’s content moderation decisions on the Yelp business page relating
    7   to her law firm, for which Yelp bears no liability under Section 230. And Plaintiff’s
    8   allegation that Yelp refused to take down the Yelp business page relating to her firm
    9   (which would have removed critical reviews of and eliminated consumers’ ability to
   10   post future reviews) only reinforces that her Second Amended Complaint (“SAC”)
   11   arises from Yelp’s editorial choices, which Section 230 protects.
   12           Additionally, Plaintiff completely fails to address the controlling cases Yelp
   13   cited in its moving papers and makes no attempt to respond to Yelp’s arguments
   14   about her failure to allege facts, much less plausible causes of action. Indeed, simply
   15   labeling a content moderation dispute as wire fraud or organized crime without any
   16   supporting facts does not transform it into a valid legal claim. The law is clear:
   17   Platforms like Yelp’s are immune from liability for third-party content and related
   18   editorial decisions. The Court should dismiss Plaintiff’s SAC with prejudice.
   19      II. ARGUMENT
   20              a. The Court Should Disregard Plaintiff’s Declaration and Newly
   21                 Filed Exhibits
   22            Along with her 40-page opposition, Plaintiff submitted a declaration and 144
   23   pages of exhibits to try to inject new matter into her lawsuit. The declaration and
   24   exhibits are often irrelevant, conclusory, and argumentative, and they also violate
   25   the well-established rule that a court may only consider the allegations in the
   26   complaint, documents incorporated by reference, and matters of judicial notice when
   27   ruling on a motion to dismiss. See Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194,
   28   1197 n.1 (9th Cir. 1998) (“In determining the propriety of a Rule 12(b)(6) dismissal,

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    1   a court may not look beyond the complaint to a plaintiff’s moving papers, such as a
    2   memorandum in opposition to a defendant’s motion to dismiss.”) (italics in original);
    3   Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (“As a general rule, a
    4   district court may not consider any material beyond the pleadings in ruling on a Rule
    5   12(b)(6) motion”). Plaintiff’s reliance on matters outside the SAC constitutes an
    6   improper attempt to amend her pleading through her opposition, which the Ninth
    7   Circuit has repeatedly held is not permissible. The Court should strike or disregard
    8   Plaintiff’s declaration and exhibits and confine its analysis to the allegations in the
    9   SAC and Yelp’s Terms of Service (which Plaintiff incorporated into the SAC by
   10   reference).
   11             b. Plaintiff’s Muddled First Amendment and Section 230 Challenges
   12                 Fail Because Yelp Is Not a State Actor and She Lacks Standing
   13         The First Amendment prohibits abridgment of speech by the government, not
   14   by private parties. Yelp does not become a state actor merely because it moderates
   15   content or facilitates public discourse. As the Supreme Court made clear in
   16   Manhattan Community Access Corp. v. Halleck, 139 S. Ct. 1921 (2019), hosting
   17   speech is not a “traditional, exclusive public function” comparable to municipal
   18   governance. Similarly, the Ninth Circuit in Prager University v. Google LLC, 951
   19   F.3d 991,994 (2020) rejected the notion that YouTube was subject to First
   20   Amendment scrutiny for content moderation decisions, noting that “[t]he Internet
   21   does not alter this state action requirement of the First Amendment.”
   22         Moreover, Plaintiff’s repeated assertions that Yelp acted as a government
   23   proxy are unsubstantiated and legally deficient. Plaintiff alleges—without any
   24   factual support—that Yelp’s actions are part of a broader scheme in which the
   25   government uses private platforms to “control speeches of millions and millions of
   26   businessmen.” ECF No. 128 at 11. Vague and conclusory allegations of government
   27   involvement do not suffice under Rule 8 or any other standard. Indeed, courts have
   28   consistently dismissed such claims as insufficient to meet the state action standard.

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    1   See, e.g., Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30, 40-41 (D.D.C.
    2   2019). Even if the government had encouraged or supported content moderation
    3   generally, this would not convert Yelp into a state actor absent direct and coercive
    4   involvement.
    5         To the extent Plaintiff seeks a (non-pleaded) declaratory judgment that
    6   Section 230 is unconstitutional, she also lacks standing, which requires (1) an injury
    7   in fact, (2) fairly traceable to the defendant that is (3) likely be redressed by a
    8   favorable decision. Bennett v. Spear, 520 U.S. 154, 162 (1997). To establish an
    9   injury-in-fact, Plaintiff must have suffered “an invasion of a legally protected
   10   interest which is (a) concrete and particularized, and (b) actual or imminent not
   11   conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560
   12   (1992). Plaintiff does not allege that Yelp’s content moderation decisions would
   13   have been different without Section 230, nor can she. See Trump v. Twitter Inc., 602
   14   F. Supp. 3d 1213, 1225 (N.D. Cal. 2022) (dismissing constitutional challenge to
   15   Section 230; “vague and speculative allegation” that Twitter would not have de-
   16   platformed plaintiffs without it was conclusory and insufficient for standing).
   17            c. Section 230 Immunizes the Yelp Defendants.
   18         The immunity provided under Section 230 applies where: (1) the defendant is
   19   a provider of an interactive computer service (“ICSs”); (2) the information alleged
   20   to be harmful was provided by another information content provider; and (3) the
   21   plaintiff seeks to treat the defendant as a publisher. Zeran v. America Online, Inc.,
   22   129 F.3d 327, 330 (4th Cir. 1997); Delfino v. Agilent Technologies, Inc., 145
   23   Cal.App.4th 790, 804-05 (2006). Plaintiff failed to present any facts or law showing
   24   Section 230 does not bar her claims.
   25         First, Plaintiff does not dispute that the Yelp Defendants are ICSs. This
   26   element is therefore conceded.
   27         Second, Plaintiff is unable to show that Yelp or Stoppelman is an information
   28   content provider for the content at issue in this case. A website operator does not

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    1   become liable as an “information content provider” by merely “facilitating the
    2   expression of information.” Goddard v. Google, Inc., 640 F.Supp.2d 1193, 1197-
    3   1198 (N.D. Cal. 2009) (citation omitted). Rather, the website operator must
    4   materially contribute to the alleged illegality of the content. Fair Housing Council
    5   of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1167-1168 (9th
    6   Cir. 2008) (en banc). “A material contribution to the alleged illegality of the content
    7   does not mean merely taking action that is necessary to the display of allegedly
    8   illegal content. Rather, it means being responsible for what makes the displayed
    9   content allegedly unlawful.” Jones v. Dirty World Entertainment Recordings, LLC,
   10   F.3d 398, 410 (6th Cir. 2014). As “long as users ultimately determine what content
   11   to post, such that the tool merely provides ‘a framework that could be utilized for
   12   proper or improper purposes,”’ the website operator is fully immunized under
   13   Section 230. Goddard, 640 F.Supp.2d at 1197-1198, citing Roommates.com, 521
   14   F.3d at 1172.
   15         In her opposition, Plaintiff claims that Yelp is an information content provider
   16   because it allegedly “placed in Plaintiff’s account a formerly removed review as a
   17   new one with past dated comment of the Plaintiff under them.” 1 ECF No. 128 at 21.
   18   Plaintiff seems to be claiming that Yelp’s editorial discretion to choose which third-
   19   party information to publish somehow transforms Yelp into an information content
   20   provider under Section 230. However, Plaintiff has not alleged (and cannot allege)
   21   any facts whatsoever to demonstrate that Yelp created the challenged content. Yelp
   22   cannot create content already created by others.
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         Plaintiff’s allegations is false, but the Court need not resolve that factual dispute to
   25
        grant Yelp’s motion. Users Dav M. and Ara Ariana K. actually updated their reviews
        of Plaintiff’s business using a feature available to all Yelp users, after Yelp had
   26   removed their initial reviews for violating Yelp’s Content Guidelines. Yelp also
   27   removed the updated reviews after Plaintiff reported them, for the same reason. But
        even if Yelp had displayed formerly removed user reviews—thus changing its
   28   immunized editorial decision—it would still be an immunized editorial decision.

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    1         In fact, Plaintiff’s argument does not back up her own claim. She objects to
    2   Yelp’s supposed editorial decision to republish a third-party review with her own
    3   “old dated comments under them.” ECF No. 128 at 21:25-26. In other words, she
    4   takes issue with Yelp sharing her own responses to third-party reviews she found
    5   objectionable—not the creation of any new content by Yelp. Id. at 37:10-12. All of
    6   Plaintiff’s claims against the Yelp Defendants arise from third-party reviews (or her
    7   own responses) posted by Yelp’s users and Yelp’s publication decisions regarding
    8   the display and removal of the challenged content. See, e.g., Batzel v. Smith, 333
    9   F.3d 1018, 1032, n. 18 (9th Cir. 2003) (exercising discretion to choose what
   10   information to publish does not amount to creating or developing content).
   11         Plaintiff’s reliance on the inapplicable and non-binding Anderson v. TikTok,
   12   Inc., 116 F.4th 180, 182-184 (3d Cir. 2024) is misguided. Anderson involved
   13   TikTok’s user-tailored algorithmic design of video compilations. In contrast, as
   14   against the Yelp Defendants, this case is not about any alleged algorithmic design.
   15   See generally ECF No. 96 (SAC) (no mention of any alleged algorithm). Instead,
   16   this case is about Yelp’s content moderation of third-party speech, and Anderson
   17   recognizes that Section 230 protects ICSs when “they are sued for someone else’s
   18   expressive activity or content (i.e., third-party speech).” Id. at 183.
   19         Notably, Anderson is also an outlier decision that conflicts with overwhelming
   20   authority affirming application of Section 230 to algorithms, including in other cases
   21   involving Yelp. In Levitt v. Yelp! Inc.—a case Plaintiff did not address in her
   22   opposition—the district court held that Yelp’s recommendation software—used to
   23   filter and organize user reviews—constitutes a traditional editorial function
   24   protected     under     Section      230.     Levitt    v.    Yelp!,      Case No. C10-
   25   1321, 2011 WL 5079526, at *2 (N.D. Cal. Oct. 26, 2011), affirmed on other
   26   grounds in Levitt, 765 F.3d at 1123. Yelp’s actions pursuant to its recommendation
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    1   review software did not make it a “developer” of the underlying content. 2
    2         Plaintiff also attempts to avoid Section 230 by alleging that Yelp and
    3   Stoppelman were “put on notice” of the offending content and refused to remove it.
    4   Yet notice of the challenged content is immaterial: Section 230 immunity “applies
    5   even after notice of the potentially unlawful nature of the third-party content.”
    6   Universal Commc’n Sys., Inc. v. Lycos, Inc., 478 F.3d 413, 420 (1st Cir. 2007);
    7   Barrett v. Rosenthal, 40 Cal.4th 33, 39 (2006) (Section 230 immunizes information
    8   service providers from notice liability). Notice does not eliminate immunity.
    9         Plaintiff also contends that Section 230 does not apply because she alleges
   10   that (1) third-parties posted “distorted” photos of her that “infringe upon her
   11   copyright…,” (2) she requested the removal of the photos, and (3) Yelp failed to
   12   remove them. ECF No. 128 at 39:20-22. This argument fails. As an initial matter,
   13   Plaintiff has not alleged a copyright infringement claim or invasion of privacy claim
   14   against these third-parties. Nor has she so much as identified anything protected by
   15   copyright law, let alone alleged ownership of the copyright, or plausibly alleged any
   16   supposed privacy right or violation.
   17         Plaintiff’s argument that Section 230 does not apply because of Yelp’s Terms
   18   of Service is likewise unavailing. ECF No. 128 at 39. In the first place, Plaintiff has
   19   not alleged a breach of contract claim in her SAC. But even if she had, it would not
   20   matter because her claims clearly arise from Yelp’s role as a publisher of third-party
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         Beyond Levitt, numerous other decisions hold that algorithms are protected under
   23
        Section 230, including controlling decisions from the Ninth Circuit. See Dyroff v.
   24   Ultimate Software Group, Inc., 934 F.3d 1093, 1098 (9th Cir. 2019) (algorithmic
        tools, including automated notifications and user grouping, are protected functions
   25
        under Section 230 because they do not create or alter the underlying user content);
   26   see also Estate of Bride v. Yolo Technologies, Inc., 112 F. 4th 1168, 1181-83 (2024)
        (defendants’ design choice of anonymity protected by Section 230); Herrick v.
   27
        Grindr LLC, 765 F. App’x 586, 591 (2d Cir. 2019) (Grindr’s matchmaking
   28   algorithms did not make it a developer of user content, as the platform simply
        facilitated connections between users).
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    1   content and related editorial decisions regarding third-party content on its website. 3
    2         Plaintiff’s argument that Yelp failed to act in “good faith” also fails. Plaintiff
    3   is wrongly conflating Section 230(c)(1) with (c)(2). Yelp claims immunity under
    4   (c)(1), which protects hosting third-party content and has no “good faith”
    5   requirement. Zango, Inc. v. Kaspersky Lab, Inc. 568 F.3d 1169, 1176 (9th Cir. 2009).
    6         Third, Plaintiff seeks to hold Yelp responsible as the “publisher” or “speaker”
    7   of the third-party reviewers’ content. In deciding this issue, “what matters is not the
    8   name of the cause of action”; instead, “what matters is whether the cause of action
    9   inherently requires the court to treat the defendant as the ‘publisher or speaker’ of
   10   content provided by another.” Cross v. Facebook, 14 Cal.App.5th 190, 207 (2017)
   11   (citation omitted); see also Barnes v. Yahoo!, Inc., 565 F.3d 560, 566 (9th Cir. 2009)
   12   (“what matters is whether the cause of action inherently requires the court to treat
   13   the defendant as the ‘publisher or speaker’ of content provided by another”); L.W. v.
   14   Snap Inc., 675 F. Supp. 3d 1087, 1095-1096 (S.D. Cal. Jun. 5, 2023) (holding “the
   15   Court must treat Defendants as publishers or speakers, regardless of how [Plaintiff’s]
   16   claims are framed, because their theories of liability plainly turn on Defendants’
   17   alleged failure to monitor and remove third-party content.”).
   18         “Put slightly differently, ‘courts must ask whether the duty that the plaintiff
   19   alleges the defendant violated derives from the defendant’s status or conduct as a
   20   ‘publisher or speaker.’ If it does, section 230(c)(1) precludes liability.” Cross, 14
   21   Cal.App.5th at 207 (citations omitted). Based on these principles, “numerous courts
   22   have held [Section 230] bars claims based on a failure to remove content posted by
   23   others” and other editorial decisions by website operators with respect to the display
   24   of content. Id. The same conclusion is warranted here.
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   26   3
          The Terms of Service also unambiguously provide that “[t]he federal
        Communications Decency Act (47 U.S. Code § 230) limits the liability of interactive
   27
        computer services, like Yelp, for their role in publishing third-party Content,
   28   including consumer reviews” and that Yelp is “under no obligation to enforce the
        Terms on [Plaintiff’s] behalf against another user.” ECF No. 103 at 6:9-7:3.
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    1         Even if this was a close case under Section 230––which it is not––the Ninth
    2   Circuit has cautioned that “close cases . . . must be resolved in favor of immunity,
    3   lest we cut the heart out of section 230 by forcing websites to face death by ten
    4   thousand duck-bites.” Roommates.com, LLC, 521 F.3d at 1174. This guidance is
    5   even more applicable in straightforward cases like this one.
    6            d. Plaintiff’s Claims Fail for Additional Reasons
    7         Plaintiff fails to state a claim for relief for many reasons besides Section 230—
    8   and nothing in Plaintiff’s opposition changes that.
    9         For example, Plaintiff repeats her argument that the Yelp Defendants acted in
   10   concert with other alleged RICO defendants. ECF No. 128 at 22:13-27. But outside
   11   of the Yelp Defendants’ role as publisher of third-party reviews, she does not point
   12   to any facts in the SAC to support her RICO claim. Nor does she provide any facts
   13   to allege the existence of an “enterprise.” Plaintiff’s threadbare conclusions are
   14   plainly insufficient to meet the plausibility standard under Bell Atlantic v. Corp.
   15   Twombly, 550 U.S. 550-552 (2007).
   16         Similarly, Plaintiff argues that she pleaded enough facts suggesting a
   17   “conspiracy” to support her Sherman and Clayton act violations. ECF No. 128 at 27.
   18   But there are no facts whatsoever to support her allegation of a conspiracy. See
   19   Name.Space, Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d 1124,
   20   1129 (9th Cir. 2015). Nor has Plaintiff pleaded any facts sufficient to define any
   21   market. Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir. 2018) (plaintiff
   22   “must plead a relevant market” to state an antitrust claim).
   23         Additionally, Plaintiff does not point to any case law that shows that Yelp is
   24   a place of “public accommodation” under 42 U.S.C. Section 2000(c). Her argument
   25   that Yelp “has two physical addresses” is irrelevant because her claims are not based
   26   on conduct that occurred at one of these physical locations, nor can it since Yelp’s
   27   only physical locations are its offices where some of its employees work, which are
   28   not open to the public. ECF No. 128 at 29:4-5. Rather, all her claims are premised

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   1   on third-party content on Yelp. Plaintiff’s reasoning would transform every business
   2   with a physical address—even private offices closed to the public—into a place of
   3   “public accommodation” under the law, regardless of whether the alleged conduct
   4   has any connection to the physical location.
   5         Plaintiff’s Unruh claim still fails. She was required to plead facts showing that
   6   “she has been the victim of defendant’s discriminatory act.” See White v. Square,
   7   Inc., 7 Cal. 5th 1019, 1025 (2019). She did not. Instead, she attempts to recast Yelp’s
   8   content moderation decisions as discriminatory, but there are simply no facts to
   9   support her patently far-fetched claim.
  10         Plaintiff’s UCL claim is premised on the same conclusions as her RICO claim,
  11   so the UCL claim fails too. See Focus 15, LLC v. NICO Corporation, 2022 WL
  12   2355537 (N. D. Cal., June 30, 2022) (UCL claims that were derivative of RICO
  13   claims were dismissed as plaintiff failed to meet heightened pleading standard under
  14   Rule 9(b)). Additionally, Plaintiff completely ignores persuasive authority in Yelp’s
  15   moving papers, which shows that the challenged speech is fully protected by the
  16   First Amendment. Bernardo v. Planned Parenthood Federation of America, 115
  17   Cal.App.4th 322, 343 (2004) (“Noncommercial speech is entitled to full First
  18   Amendment protection and is thus not actionable under Business & Professions
  19   Code §§ 17200 and 17500.”) Moreover, as the California Supreme Court has stated,
  20   “commercial speech must consist of factual representations about the business
  21   operations, products, or services of the speaker (or the individual company or
  22   company on whose behalf the speaker is speaking) . . .” Kasky v. Nike, Inc., 27
  23   Cal.4th 939, 962 (2002). Neither the alleged reviews nor Yelp’s editorial decisions
  24   regarding whether and how to display third-party content contain any factual
  25   representations about Yelp’s services. On the contrary, all the challenged speech is
  26   about Plaintiff or her law firm, which dooms this claim.
  27         Plaintiff’s opposition does nothing to save her harassment claim under Code
  28   of Civil Procedure section 527.6. Plaintiff has not provided any legal authority to

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   1   show that mere content moderation could constitute harassment. Nor can she show
   2   that such conduct “serves no legitimate purpose.” Schild v. Rubin, 232 Cal. App. 3d
   3   755, 762 (1991) (internal quotations omitted). To the contrary, Yelp operates a free
   4   public forum for online speech, as many courts have noted. See Levitt, 765 F.3d at
   5   1126 (“Today, individuals can share their opinions with the entire world courtesy of
   6   a few taps on the keyboard. [Yelp] provides an online forum on which its users
   7   express opinions as to services ranging from dog walkers to taco trucks.”); see also
   8   Edwards v. District of Columbia, 755 F.3d 996, 1006-7 (D.C. Cir. 2014) (“Further
   9   incentivizing a quality consumer experience are the numerous consumer review
  10   websites, like Yelp . . . which provide consumers a forum to rate the quality of their
  11   experiences . . . That the coal of self-interest often yields a gem-like consumer
  12   experience should come as no surprise.”)
  13         Plaintiff’s defamation claim fails too, because she has not pleaded any
  14   defamatory facts, as opposed to protected opinions.
  15         Plaintiff’s IIED and NIED claims should also be dismissed. Nothing in
  16   Plaintiff’s opposition shows that Yelp’s editorial decisions qualifies as “extreme and
  17   outrageous” conduct. Quite the opposite, the allegations demonstrate that Yelp acted
  18   in the normal course of its business, i.e., content moderation. With respect to
  19   Plaintiff’s NIED claim, even if the court credits her incorrect argument that a
  20   “special relationship” existed, Yelp’s Terms of Service foreclose any such claim.
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   1      IV.      CONCLUSION
   2         Yelp and Stoppelman respectfully request that this Court grant their Motion
   3   to Dismiss the SAC with prejudice as to them.
   4
   5   DATED:       December 30, 2024
   6
   7
                                LAW OFFICES OF ADRIANOS FACCHETTI, P.C.
   8
                                By: /s/ Adrianos Facchetti
   9                                 Attorney for Defendants,
  10                                 YELP INC. and JEREMY STOPPELMAN

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                YELP INC. AND JEREMY STOPPELMAN’S REPLY IN SUPPORT OF MTD
